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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION
MICHAEL LUCIEN-BEY #502734, CIVIL DOCKET NO. 1:21-CV-00755
Plaintiff SEC P
VERSUS JUDGE DRELL
MARCUS MYERS ET AL, MAGISTRATE JUDGE PEREZ-MONTES
Defendants
JUDGMENT

For the reasons contained in the Report and Recommendation of the
Magistrate Judge previously filed herein (ECF No. 7), noting the absence of objections
thereto, and concurring with the Magistrate Judge’s findings under the applicable
law;

IT IS ORDERED that the Complaint, and Motion for Preliminary Injunction
contained therein (ECF No. 1), is hereby DENIED and DISMISSED WITH
PREJUDCE under § 1915A.

The Clerk of Court is instructed to send a copy of this Judgment to the keeper
of the three strikes list in Tyler, Texas.

THUS, DONE AND SIGNED at Alexandria, Louisiana, this [2% of May

2021.

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DEE D. DRELL, JUDGE
UNITED STATES DISTRICT COURT

 
